






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-04-00634-CR






Praxedis Caballero, Appellant



v.



The State of Texas, Appellee







FROM THE COUNTY COURT AT LAW NO. 6 OF TRAVIS COUNTY


NO. 658,527, HONORABLE WILLIAM E. BENDER, JUDGE PRESIDING






M E M O R A N D U M   O P I N I O N



Appellant Praxedis Caballero perfected this appeal from a conviction for theft.  The
reporter's record has not been filed because appellant, who never claimed to be indigent, has not
made arrangements for payment.  Appellant's retained counsel previously filed a motion to withdraw
stating counsel's opinion that appellant is indigent.  This Court dismissed the motion to withdraw
and ordered the trial court to determine whether appellant wishes to pursue the appeal and, if so, if
he is indigent.  We are now informed by the trial court that appellant cannot be located.

We conclude that appellant has been given a reasonable opportunity to obtain the
reporter's record and find that the absence of the record is appellant's fault.  See Tex. R. App. P.
37.3(c).  We also find that appellant has not made the necessary arrangements for filing a brief.  See
Tex. R. App. P. 38.8(b)(4).

We have examined the clerk's record and find no error that should be considered in
the interest of justice.  The judgment of conviction is affirmed.



				__________________________________________

				Jan P. Patterson, Justice

Before Chief Justice Law, Justices Patterson and Puryear

Affirmed

Filed:   February 17, 2005

Do Not Publish


